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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Norfolk Division


 CXA-16 CORPORATION,

         Plaintiff,

  v.                                                            Civil Action No. 2:12cvl68

  LAKE WRIGHT, LLC,

         Defendant.




                                                FINAL
                           ORDER TERMINATING RECEIVERSHIP

         This matter came on upon the Motion to Terminate Receivership ("Motion") filed by

  Hospitality Management Advisors, Inc. ("HMA"), receiver, seeking the termination of the

  receivership instituted in this case, due to the foreclosure sale of the Hotel Property (as defined in

  the Final Consent Order entered on April 3, 2012) and more particularly described below, which

  was the subject of this receivership. It appearing and the Court finding as follows:

          1.     On March 29, 2012, Beal Bank filed the Complaint in this matter, seeking, among

  other things, the entry of an order appointing a receiver to take possession of collateral property,

  which included, but was not limited to, two hotel franchises on the property "located ai 6280

  Northampton Boulevard, Norfolk, Virginia 23502 (the "Hotel Property"), and to protect and

  preserve the Hotel Property and its structures, assets, and revenues and accounts, among other

  various items as stated in the Court's April 3,2012 Order (ECF4).

          2.      On April 3, 2012 an Order was entered appointing HMA as Receiver for the Hotel

  Property and HMA was required to, and did, file with the Court a bond in the amount of $25,000
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 (the "Bond"). By Order entered on July 29, 2014, absent objection or response, to which there

 were none, the Court destroyed the Bond.

         3.      By Order entered on July 27, 2012, the Court substituted CXA-16 Corporation for

 Beal Bank as the party Plaintiff to this action.

         4.      On May 18, 2016 a foreclosure sale was conducted concerning the Hotel Property

 bythe then Substitute Trustee on the Deed of Trust involved in this Case.

         5.      As a result of such foreclosure sale, the Receiver's duties are no longer necessary.

         WHEREFORE, according to the foregoing, and it otherwise appearing just and proper to

 do so, it is hereby

         ORDERED, ADJUDGED, and DECREED that, as to the Hotel Property and to the extent

  covered by the April 3, 2012 Order, the Receivership and the duties and obligations of the

  Receiver hereby are terminated.

         The Receiver shall be discharged and relieved of all duties and responsibilities with

  respect to this matter, and the Bond shall be cancelled and declared null and void and of no

  further force and effect.


                                                    ENTERED:




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  WE ASK FOR THIS:




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  Christy L. Murphy (VSB No. 73253)
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